                      Case 8-18-76163-las                Doc 1        Filed 09/12/18            Entered 09/12/18 16:04:53




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter
                                                                                                                         □ Check If this an
                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and case number (if known).
For more information, a separate document. Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Paramount Equipment, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA DPI Industries
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification       XX-XXXXXXX
     Number (EIN)


4.   Debtor's address              Principal place of business                                   Mailing address, if different from principal place of
                                                                                                 business

                                  201 Christopher Street
                                  Ronkonkoma, NY 11779
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Suffolk                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   □ Partnership (excluding LLP)
                                   □ Other. Specify:




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                     Case 8-18-76163-las                    Doc 1        Filed 09/12/18               Entered 09/12/18 16:04:53



Debtor    Paramount Equipment, Inc.                                                                    Case number {if known)
          Name


7.   Describe debtor's business        A. Check one:
                                       □ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       □ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       □ Railroad (as defined in 11 U.S.C. § 101(44))
                                       □ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       □ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ® None of the above

                                       B. Check all that apply
                                       □ Tax-exempt entity (as described in 26 U.S.C. §501)
                                       □ investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       □ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See httD://www.uscourts.aov/four-diait-national-association-naics-codes.
                                                3261

     Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    ■ Chapter?
                                       □ Chapter 9
                                       □ Chapter 11. Check all that apply:
                                                            □    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                            □    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                            □    A plan is being filed with this petition.
                                                            □    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C, § 1126(b).
                                                            □    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            □    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       □ Chapter 12



9.   Were prior bankruptcy             ■ No.
     cases fiied by or against
     the debtor within the iast 8      □ Yes,
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases           ■ No
    pending or being filed by a
    business partner or an             □ Yes.
    affiiiate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship

                                                 District                                 When                              Case number, if known




 Official Form 201                             Voluntary Petition for Non-individuais Fiiing for Bankruptcy                                                page 2
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Delator   Paramount Equipment, Inc.                                                                Case number {if known)
          Name


11. Why is the case filed in     Check all that apply:
    this district?
                                 ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                 □      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       ■ No
    have possession of any
                                            Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    □ Yes.
    property that needs
    immediate attention?                    Why does the property need immediate attention? {Check all that apply.)
                                            □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                            □ It needs to be physically secured or protected from the weather.
                                            □ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            □ Other       ______ _____________________________________________________________________________
                                            Where is the property?          ____________________________________________________________________
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                            □ No
                                            □ Yes.       Insurance agency
                                                         Contact name
                                                         Phone



          Statistical and administrative information

13. Debtor's estimation of                Check one:
    available funds
                                          ■ Funds will be available for distribution to unsecured creditors.
                                          □ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          □   1-49                                         □ 1,000-5,000                              □ 25,001-50,000
    creditors                                                                     □ 5001-10,000                              □ 50,001-100,000
                                 ■   50-99
                                 □   100-199                                      □ 10,001-25,000                            □ More thani 00,000
                                 □   200-999

15. Estimated Assets             □   $0 - $50,000                                 □   $1,000,001 - $10 million               □   $500,000,001 -$1 billion
                                 □   $50,001 -$100,000                            □   $10,000,001 -$50 million               □   $1,000,000,001 - $10 billion
                                 ■   $100,001 -$500,000                           □   $50,000,001 -$100 million              □   $10,000,000,001 -$50 billion
                                 □   $500,001 - $1 million                        □   $100,000,001 - $500 million            □   More than $50 billion


16.   Estimated liabilities      □   $0 - $50,000                                 ■   $1,000,001 - $10 million               □   $500,000,001 - $1 billion
                                 □   $50,001 - $100,000                           □   $10,000,001 -$50 million               □   $1,000,000,001 - $10 billion
                                 □   $100,001 -$500,000                           □   $50,000,001 -$100 million              □   $10,000,000,001 - $50 billion
                                 □   $500,001 - $1 million                        □   $100,000,001 -$500 million             □   More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Paramount Equipment, Inc.                                                                Case number {if known)
          Name


          Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a faise statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 12, 2018
                                                  MM / DD / YYYY


                             X Isl Matthew Barbaro                                                        Matthew Barbaro
                               Signature of authorized representative of debtor                           Printed name

                                 Title   Vice President




18. Signature of attorney    X Isl Thomas R. Slome                                                         Date September 12, 2018
                               Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Thomas R. Slome, Esq.
                                 Printed name

                                 Meyer, Suozzi, English & Klein P.C.
                                 Firm name

                                 990 Stewart Avenue, Suite 300
                                 Garden City, NY 11530
                                 Number, Street, City, State & ZIP Code

                                                    516-741-6565 ext.
                                 Contact phone      5922                         Email address      tslome@msek.com


                                 1935584 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                   RESOLUTION OF THE BOARD OF DIRECTORS OF
                         PARAMOUNT EQUIPMENT, INC.

              WHEREAS, the undersigned, being all of the members of the Board of Directors
of Paramount Equipment, Inc. (the “Company”), and having convened a Special Meeting
pursuant to Paragraph 3 of Article II of the Company’s By-Laws, and notice of such meeting
having been waived; and

                WHEREAS, the Board of Directors having received and reviewed reports
furnished to it concerning the financial condition of the Company; and

              WHEREAS, it appearing in the business judgment of the Board of Directors that
the Company should be liquidated under the supervision of the United States Bankruptcy Court,
it is hereby:

               RESOLVED, that the Company initiate a case under chapter 7 of title 11 of the
United States Code (the “Bankruptcy Code”); and it is further

                RESOLVED, that Matthew Barbaro is directed and authorized to prepare or
cause to be prepared all documents, petitions, pleadings and other instruments necessary to cause
the initiation and prosecution of a case under the Bankruptcy Code; and it is further

               RESOLVED, that Meyer, Suozzi, English & Klein, P.C. which was previously
retained to provide legal advice to the Company in connection with a reorganization, out of court
work-out or bankruptcy filing, is authorized to represent the Company in connection with any
case commenced for the Company under the Bankruptcy Code.

Dated: Ronkonkoma, New York
       August 31,2018


/s/ Matthew Barbaro                              /s/Jerome Bernzweis
Matthew Barbaro                                  Jerome Bernzweig




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 Fill in this information to identify the case:

 Debtor name          Paramount Equipment, Inc.

 United States Bankruptcy Court for the:             EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                □   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that Is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
1519, and 3571.



                 Declaration and signature


        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206FI)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         □        Amended Schedule
         □        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Corporate Ownership Statement

        I declare under penalty of perjury that the foregoing is true and correct.

         Executed on         September 12, 2018                      X isl Matthew Barbaro
                                                                       Signature of individual signing on behalf of debtor

                                                                       Matthew Barbaro
                                                                       Printed name

                                                                       Vice President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          Case 8-18-76163-las                                  Doc 1              Filed 09/12/18                        Entered 09/12/18 16:04:53


 Fill in this information to identify the case;

 Debtor name            Paramount Equipment, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known) ___________________________
                                                                                                                                                           □ Check if this is an
                                                                                                                                                             amended filing



Official Form 206$unn
Summary of Assets and Liabilities for Non-Individuals                                                                                                                           12/15

IB3Bi Summary of Assets_____________________________________________________


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       la. Real property:
           Copy line 88 from Schedule A/B...........................................................................................                                                 0.00

       lb. Total personal property;
           Copy line 91A from Schedule A/S........................................................................................                                          124,444.59

       lc. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................                                        124,444.59


EBEBBI Summary of Liabilities___________________________________________________


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..                                                                         99,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................                                            $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...............                                                     +$         1,885,458.59



4.     Total liabilities..........................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                              1,984,458.59




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                         page 1
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 Fill in this information to identify the case:

 Debtor name        Paramount Equipment, Inc.

 United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

 Case number (if known) __________________________
                                                                                                                                  □ Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property____________ 12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpIred leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
              Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      □ No. Go to Part 2.
      H Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor’s interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.   HSBC Bank USA                                          Checking                           9463                          Approx.      $450.00




            3.2,   HSBC Bank USA - Payroll Account                        Checking                           9811                          Approx.      $400.00



 4.         Other cash equivalents (Identify all)

 5,         Total of Part 1.                                                                                                            Approx. $850.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

        1111 Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      □ No, Go to Part 3.
      ■ Yes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.   Suffolk County Water Authority                                                                                                       $350.00


                   Security Deposit with Landlord J&L Property Investors LLC f/k/a RAC Industrial
            7.2.   Developers , 3505 Veterans Memorial Highway, Ronkonkoma, NY 11779                                                               $19,166.68
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor          Paramount Equipment, Inc.                                                          Case number (if known)
                 Name




 8.          Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
             Description, including name of holder of prepayment

 9.          Total of Part 2.                                                                                                             $19,516.68
             Add lines 7 through 8. Copy the total to line 81.

           I Accounts receivable
10. Does the debtor have any accounts receivable?

      □ No. Go to Part 4.
       B Yes Fill in the information below.

 11.         Accounts receivable
             11a. 90 days old or less:                                2,976.64                                  0.00 =...                      $2,976.64
                                              face amount                         doubtful or uncollectible accounts
                                                                See Schedules A/B - Part 3, Question 1 la Annex



             11b. Over 90 days old:                                  15,759.45                                 0.00 =....                    $15,759.45
                                              face amount                         doubtful or uncollectible accounts
                                                                 See Schedules A/B - Part 3, Question 11b Annex

 12.         Total of Part 3.                                                                                                             $18,736.09
             Current value on lines 11a + 11b = line 12. Copy the total to line 82.

             Investments
13. Does the debtor own any investments?

      ■ No. Go to Part 5.
      □ Yes Fill in the information below.


             Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      □ No. Go to Part 6.
      H Yes Fill in the information below.

             General description                      Date of the last              Net book value of      Valuation method used   Current value of
                                                      physical inventory            debtor's interest      for current value       debtor's interest
                                                                                    (Where available)

 19.         Raw materials
             Rolls of Plastic Film                    8/27/2018                             $26,200.00     Per pound value                   $26,200.00



 20.         Work in progress

 21.         Finished goods, including goods held for resale
             Stock goods____________       8/27/2018                                          $4,249.01    Net book value                      $4,249.01



 22.         Other inventory or supplies
             Boxes                                    8/27/2018                               $6,846.67    Per box value                       $6,846.00




Official Form 206/\/B                                         Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor          Paramount Equipment, Inc.                                                        Case number (if known)
                 Name


           Solvent                                   8/27/2018                               $694.00     Per gallon value                      $694.00


           Ink                                       8/27/2018                            $39,633.00     Per pound value                   $39,633.00


           Printing Piates (See
           Scheduie A/B - Part 5
           Annex - Question 22
           Annex)                                    8/27/2018                             Unknown                                           Unknown



           String                                    8/27/2018                               $719.81     Per iength vaiue                      $719.81




23,        Total of Part 5.                                                                                                            $78,341.82
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
            ■ No
            □ Yes

25,        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            ■ No
            □ Yes. Book value                                        Valuation method                         Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
            ■ No
            □ Yes

             Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    ■ No. Goto Part?.
    □ Yes Fill in the information below.


           I Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    □ No, Go to Part 8.
    B Yes Fill in the information below.

           General description                                                    Net book value of      Valuation method used   Current value of
                                                                                  debtor's interest      for current value       debtor's Interest
                                                                                  (Where available)

 39,       Office furniture
           Desk, Chairs, File Cabinets                                                     Unknown                                           Unknown



40,        Office fixtures

41.         Office equipment, including all computer equipment and
            communication systems equipment and software
            13 Dell Computers                                                               Unknown                                          Unknown


            1 OKI C5200 Colored Printer                                                     Unknown                                          Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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Debtor         Paramount Equipment, Inc.                                                     Case number (if known)
               Name

           HP Laser Jet Printer 4250 (4) paper stations                               Unknown                                           Unknown


           1 Brother Printer HL-L23600W                                               Unknown                                           Unknown


           1 Scan Snap Scanner - 513001                                               Unknown                                           Unknown


           1 Ricoh Laser Printer AP 2610                                              Unknown                                           Unknown


           1 OKI MB451W Scanner - Fax - Printer - Coper                               Unknown                                           Unknown


           2 Brother Fax Business Class Lazer Fax Model
           4100E                                                                      Unknown                                           Unknown


           1 Xerox copier Model 416 SER #13049 with 4
           paper trays                                                                Unknown                                           Unknown


           2 OKI Label Printers LD6200                                                Unknown                                           Unknown


           2 Zebra Label Printers LP2844                                              Unknown                                           Unknown


           2 IBM Electric Typewriters (Wheel Writer 3)                                Unknown                                           Unknown


           5 Sharp Calculators                                                        Unknown                                           Unknown



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystai; stamp, coin, or basebaii card
           coiiections; other coiiections, memorabiiia, or coiiectibies

43.        Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed In Part 7?
           ■ No
           □ Yes

45.        Has any of the property listed in Part 7 been appraised by a professionai within the last year?
           ■ No
           □ Yes
             Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    □ No. Go to Part 9.
    B Yes Fill in the information below.

           General description                                              Net book value of        Valuation method used   Current value of
           Include year, make, model, and identification numbers            debtor's interest        for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                    (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         Paramount Equipment, Inc.                                                    Case number (if known)
                Name

           47.1.     Forlift Truck 2006 Toyota - Serial No.
                     96941, Model No. 7FGCU25                                          Unknown                                   $7,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           1 Quincy 30 HP Rotary Screw Air Compressor
           Equipment with Two After Dryers                                             Unknown                                   Unknown


            1 4000 SCFM Catalytic Oxidizer (Wolverine)                                  Unknown                                  Unknown


           2 Roann Poly Star 5000 56” Spliy Draw Bag
           Machines (equipt with 2 edgeguided unwind
           stands and v boards patch handle attachment,
           fold over attachment, plastic draw attachment)                               Unknown                                  Unknown


           1 Schjeldual 56" Split Draw Model 308 (equipt
           with 2 edgeguided unwind stands and v
           boards patch handle attachment, fold over
           attachment, plastic draw attachment)                                         Unknown                                  Unknown


           1 Schjeldual 56" One Up equipt with one
           edgeuided unwind, one v board and patch
           handle attachment                                                            Unknown                                  Unknown


           2 60" wide 56" face width 2 color Flexo Press
           with unwind (edguided) with drying system
           connected to catalytic oxidizer with automatic
           tension controls                                                             Unknown                                  Unknown


            1 Cortrel color mounted on a 4 color fram 42"
            print width conencted to catalytic oxidizer                                 Unknown                                  Unknown


           1 two color 30" wide 25" print width connected
           to an inline 30" Gloucester 419 Garment Bag
           Machine                                                                      Unknown                                  Unknown




 51.       Total of Part 8.                                                                                                 $7,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
            ■ No
            □ Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            ■ No
            □ Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 5
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Debtor          Paramount Equipment, Inc.                                                        Case number (if known)
                Name



           I Real property
54. Does the debtor own or lease any real property?

    □ No. Goto Part 10.
    B Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and             Net book value of      Valuation method used   Current value of
           property                                       extent of              debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest      (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 201 Christopher
                   Street, Ronkonkoma
                   NY 11779 -Lease                        20,000 Sq. Ft.
                   $15,025.00 per month                   Building                         Unknown                                          Unknown




56.        Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            ■ No
            □ Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            ■ No
            □ Yes

             liil III [lilies and intellectual property_____________________________________________
59. Does the debtor have any interests in intangibles or intellectual property?

    □ No. Goto Part 11.
    ■ Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

60.         Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.         Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer List - available but not included                                      Unknown                                           Unknown



64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.       Total of Part 10.                                                                                                                    $0.00
           Add lines 60 through 65. Copy the total to line 89.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      pages
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 Debtor         Paramount Equipment, Inc.                                                    Case number (if known)
                Name


 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101 (41 A) and 107?
            ■ No
            □ Yes

 68.        is there an amortization or other similar schedule available for any of the property listed in Part 10?
            ■ No
            □ Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            ■ No
            □ Yes

              All other assets________________________________________________________________________________________
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form,

    ■ No. Goto Part 12,
    □ Yes Fill in the information below.




Official Form 206A/B                                         Schedule A/B Assets - Real and Personal Property                                  page?
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 Debtor          Paramount Equipment, Inc.                                                    Case number (if known)
                 Name


                I Summary

In Part 12 copy all of the totals from the earlier parts of the form
     Type of property ' ^                                                          Current value of              Current value of real
                                                                                   personal property             property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                         $850.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                           $19,516.68
 82. Accounts receivable. Copy line 12, Part 3.                                               $18,736.09
 83. Investments. Copy line 17, Part 4.                                                            $0.00

 84. Inventory. Copy line 23, Part 5.                                                         $78,341.82

 85. Farming and fishing-reiated assets. Copy line 33, Part 6.                                     $0.00

 86. Office furniture, fixtures, and equipment; and coiiectibies.
     Copy line 43, Part 1.                                                                         $0.00

 87. Machinery, equipment, and vehicies. Copy line 51, Part 8.                                 $7,000.00

 88. Reai property. Copy line 56, Part 9......................................                                                            $0.00

 89. intangibles and intellectual property. Copy line 66, Part 10.                                 $0.00

 90. All other assets. Copy line 78, Part 11.                                                      $0.00

 91. Total. Add lines 80 through 90 for each column                                       $124,444.59      + 91b.                        $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                         $124,444.59




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 8
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                              SCHEDULE A/B
                    Assets - Real and Personal Property

                               PART 3 ANNEX

                                 Question 11a

                  Accounts Receivable - 90 days old or less

                                                          Amount
     Babor Packaging                                            $68.90
     855-857 S Canal Street
     Pittsburgh, PA 15212

     Guardian Packaging                                         $843.59
     110 Center Street
     Wilder, KY 41071
     Specialty Box                                            $1,057.20
     1040 Broadway
     Albany, NY 12204

     Turner Packaging Concepts                                $1,006.95
     133 High Hammock
     John’s Island, SC 29455

                                           Total              $2,976.64
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                              SCHEDULE A/B
                    Assets - Real and Personal Property

                               PART 3 ANNEX

                                Question lib

                   Accounts Receivable - Over 90 days old

                                                          Amount
     Bags on the Net                                           $459.14
     PO Box 404
     Bohemia, NY 11716

     Copeland & Laird International                          $13,307.26
     615 West Wiltshire Drive
     Wallingford, PA 19086

     Eddie Goodman Sales                                         $10.80
     3606 Preserve Lane
     Miramar Beach, FL 32550

     Georgia Retail Packaging                                 $1,552.74
     The Shoppes At Webb Gin
     1350 Sonic Highway No. #266
     Snellville, GA 3078

     Piedmont National                                            $3.40
     1561 Southland Circle
     Atlanta, GA 30318

     Staples, Inc.                                                $6.29
     PO Box 10249
     Columbia, SC 29224

     Walnut                                                     $419.82
     450 Smith Street
     East Farmingdale, NY 11735
                                           Total             $15,759.45
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                                       SCHEDULE A/B
                             Assets - Real and Personal Property

                                       PART 5 ANNEX

                                          Question 22

                          Other inventory or supplies - Printing Plates

        Debtor is in possession of numerous printing plates which were utilized by the Debtor in
its business. Some of the printing plates in Debtor’s possession belong to the Debtor’s current or
former customers.
                     Case 8-18-76163-las                         Doc 1         Filed 09/12/18               Entered 09/12/18 16:04:53



Fill in this information to identify the case:

Debtor name          Paramount Equipment, Inc.

United States Bankruptcy Court for the:             EASTERN DISTRICT OF NEW YORK

Case number (if known) ____________                   ____________
                                                                                                                                        □ Check if this is an
                                                                                                                                          amended filing

Official Form 206D
Schedule P; Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      □ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      ■ Yes. Fill in all of the information below.
ESSX^I List Creditors Who Have Secured Claims                                                        ___________________________________________________
                                                                                                                    Column A                  Column B
2. List In alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                              that supports this
                                                                                                                    Do not deduct the value   claim
                                                                                                                    of collateral.
12.1 I HSBC Bank USA__________                       Describe debtor's property that is subject to a lien                      $99,000.00           $99,000.00
       Creditor's Name                               All equipment, inventory, documents,
       Commercial Loan Services                      accounts, chattel paper and general
       Suite 0002                                    intangibles
       Buffalo, NY 14270________
       Creditor's mailing address                    Describe the lien
                                                     Line of Credit_____________________________
                                                     Is the creditor an insider or related party?
                                                     ■ No
       Creditor's email address, if known            □ Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                         B No
       6/7/11                                         □ Yes. Fill out Schedule H: Codebtore (Official Form 206H)
       Last 4 digits of account number
       1200
       Do multiple creditors have an                 As of the petition tiling date, the claim is;
       Interest in the same property?                Check all that apply
       ■ No                                           D Contingent
       D Yes. Specify each creditor,                  D Unliquidated
       including this creditor and its relative       D Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, Including the amounts from the Additional Page, if any.               $99,000.00 i

            List Others to Be Notified for a Debt Already Listed in Part 1____________________________
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
               _______________________________________________________________________                                                           this entity




Official Form 206D                                Schedule D; Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                       Case 8-18-76163-las                           Doc 1   Filed 09/12/18                Entered 09/12/18 16:04:53


Fill in this information to identify the case;
 Debtor name         Paramount Equipment, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK______________

Case number (if known) ________________________________
                                                                                                                                                   □   Check if this is an
                                                                                                                                                       amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpIred leases that could result in a claim. Also list executory contracts on Schedule MB: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space Is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

              List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         ■ No. Go to Part 2.

         □ Yes. Go to line 2.


             List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, f
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1      ] Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $2,592.65
          A1 Plastic Bags                                                    □ Contingent
          136 Tichenor Street                                                D Unliquidated
          Newark, NJ 07105                                                   □ Disputed
          Date(s) debt was incurred 1/9/2018                                 Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

3.2      ] Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                             $0.00
          Adello Uceda Rivera                                                □ Contingent
          55 Eisenhower Avenue                                               □ Unliquidated
          Brentwood, NY 11717                                                □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

3.3      ] Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                             $0.00
          Affinity Bag Co.                                                   □ Contingent
          481-C Johnson Avenue                                               □ Unliquidated
          Bohemia, NY 11716                                                  n Disputed
          Date(s) debt was incurred _                                        Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? B No      □ Yes

3.4      I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $146.82
          AirPower Transmission Inc.                                         D Contingent
          81 Gazza Blvd.                                                     □ Unliquidated
          Farmingdale, NY 11735                                              ED Disputed
          Date(s) debt was incurred 11/2/2017
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 14
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 Debtor       Paramount Equipment, Inc.                                                              Case number (if known)
              Name
 3.5     I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $2,183.63
          Alford/Presidential Industries                                     n Contingent
          200 West Commercail Avenue                                         D Unliquidated
          Moonachie, NJ 07074                                                □ Disputed
          Date(s) debt was incurred 5/2017 - 9/2017
                                                                             Basis for the claim; Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No     □ Yes

I 3.6    I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $104,984.31
          Allied Plastics Holdings LLC                                       D Contingent
          560 Ferry Street                                                   □ Unliquidated
          Newark, NJ 07105                                                   □ Disputed
          Date(s) debt was incurred Since 10/18/2017                        Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? B No D Yes

I 3.7    I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Annette Forgas                                                     □ Contingent
          2375A Raynor Street                                                □ Unliquidated
          Ronkonkoma, NY 11779                                               D Disputed
          Date(s) debt was incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ® No      D Yes

 3.8     ] Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Anthony J. Buttonow                                                □ Contingent
          7 Winston Road                                                     □ Unliquidated
          Centereach, NY 11720                                               D Disputed
          Date{s) debt was Incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number_
                                                                            Is the claim subject to offset? B No      D Yes

 3.9     I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Babor Packaging                                                    □ Contingent
          855-857 S Canal Street                                             □ Unliquidated
          Pittsburgh, PA 15212                                               □ Disputed
          Date(s) debt was incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      D Yes

I 3.10   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bags on the Net                                                    □ Contingent
          PO Box 404                                                         □ Unliquidated
          Bohemia, NY 11716                                                  □ Disputed
          Date(s) debt was incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      D Yes

1 3.11   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply       $15,369.13
          Ber Plastics                                                       n Contingent
          5 Curtis Street                                                    □ Unliquidated
          Riverdale, NJ 07457                                                □ Disputed
          Date(s) debt was incurred 11/2014 - 12/2014                       Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No □ Yes




Official Form 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 14
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 Debtor       Paramount Equipment, Inc.                                                               Case number (if known)
              Name
 3.12    I Nonpriority creditor's name and maiiing address                   As of the petition fiiing date, the ciaim is: Check all that apply.           $597.02
          Cablevision                                                         □ Contingent
          6 Corporate Drive                                                   D Unliquidated
          Melville, NY 11747                                                  n Disputed
          Date(s) debt was incurred 8/1/2018
                                                                             Basis for the ciaim; Trade debt
          Last 4 digits of account number 1011
                                                                             Is the claim subject to offset? B No      D Yes

I 3.13   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $4,308.04
          CAI                                                                 □ Contingent
          7m Martel Way                                                       □ Unliquidated
          Georgetown, MA 01833                                                D Disputed
          Date{s) debt was incurred 8/23/2017; 10/2/2017
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number 1079
                                                                             Is the claim subject to offset? B No      □ Yes

I 3.14   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $19,072.69
          Capital One Bank                                                    n Contingent
          PO Box 71083                                                        □ Unliquidated
          Charlotte, NC 28272                                                 □ Disputed
          Datets) debt was incurred Since 1/2016                             Basis for the claim: Credit Card
          Last 4 dioits of account number 9593
                                                                             Is the claim subject to offset? B No □ Yes

I 3,15   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          Charles A. Bodden                                                   □ Contingent
          111 Dawn Drive                                                      □ Unliquidated
          Centereach, NY 11720                                                D Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim; For Notice Purposes Only
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

I 3.16   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          Christine H. Black, Acting Asst, UST
          Office of the United States Trustee                                 n Contingent
          U.S. Federal Office Building                                        □ Unliquidated
          201 Varick Street, Suite 1006                                       □ Disputed
          New York, NY 10014
                                                                             Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B   no    □ Yes


I 3.17   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          Christine H. Black, Asst. UST
          Office of the U.S. Trustee                                          n Contingent
          Alfonse D'Amato Federal Courthouse                                  D Unliquidated
          560 Federal Plaza                                                   □ Disputed
          Central Isllp, NY 11722-4456
                                                                             Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No      □ Yes


I 3.18   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          Christopher Grob                                                    □ Contingent
          2295 Chestnut Avenue                                                D Uniiquidated
          Ronkonkoma, NY 11779                                                □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 14
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 Debtor       Paramount Equipment, Inc.                                                               Case number (if known)
              Name
I 3.19   I Nonpriority creditor's name and maiiing address                  As of the petition fiiing date, the ciaim is; Check ail that apply.           $972.31
          Constaflow Pump Corp.                                              n Contingent
          626 Wirebach Street                                                □ Unliquidated
          Easton, PA 18042                                                   □ Disputed
          Date(s) debt was incurred 8/30/2011; 7/6/2012
                                                                             Basis for the ciaim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No     □ Yes

j 3.20   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $510.00
          Continental Roller Co.                                             □ Contingent
          75 Arlington Avenue                                                D Unliquidated
          Kearny. NJ 07032                                                   □ Disputed
          Date(s) debt was incurred 6/9/2015
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No     □ Yes

[ 3.21   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Copeland & Laird International                                     □ Contingent
          615 West Wiltshire Drive                                           □ Unliquidated
          Wallingford, PA 19086                                              □ Disputed
          Date(s) debt was incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      □ Yes

I 3.22   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $160,000.00
          Dave Barnett                                                       □ Contingent
          19 Wood Hollow Lane                                                □ Unliquidated
          FortSalonga, NY 11768                                              □ Disputed
          Date(s) debt was incurred 9/2015 - 3/2018                         Basis for the ciaim; Loans
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No D Yes

1 3.23   j Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,775.00
          Dynasty Cleaning                                                   D Contingent
          PO Box 452                                                         □ Unliquidated
          Commack, NY 11725                                                  D Disputed
          Date(s) debt was incurred 9/2017 - 3/2018                         Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B no □ Yes

I 3.24   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eddie Goodman Sales                                               D Contingent
          3606 Preserve Lane                                                □ Unliquidated
          Miramar Beach, FL 32550                                           □ Disputed
          Date(s) debt was incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      □ Yes

I 3.25   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim Is: Check all that apply.           $909.06
          EDI Express                                                       n Contingent
          2303 W. 190th Street                                              □ unliquidated
          Torrance, CA 90504                                                □ Disputed
          Date(s) debt was incurred 10/17/2017; 10/26/2017;
                                                                            Basis for the claim: Trade debt
          4/6/2018; 6/5/2018; 7/12/2018
          Last 4 digits of account number _                                 Is the claim subject to offset? B No      □ Yes




Official Form 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 14
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 Debtor       Paramount Equipment, Inc.                                                              Case number (if known)
              Nam©

 3.26    I Nonpriority creditor's name and maiiing address                  As of the petition fiiing date, the ciaim is: Check all that apply.    $198,397.24
          Favorite Plastics                                                 □ Contingent
          1465 Utica Avenue                                                 D Unliquidated
          Brooklyn, NY 11234                                                n Disputed
          Date(s) debt was incurred Since 8/2016                            Basis for the ciaim: Trade debt
          Last 4 digits of account number_
                                                                            is the claim subject to offset? B No      D Yes

j 3.27   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $162.00
          FedEx                                                             □ Contingent
          PO Box 371461                                                     □ Unliquidated
          Pittsburgh, PA 15250                                              □ Disputed
          Date(s) debt was incurred Since 6/2018                            Basis for the claim: Trade debt
          Last 4 diaits of account number 1536
                                                                            Is the claim subject to offset? B No D Yes

1 3.28   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim Is: Check all that apply.          $680.00
          Franklin Braid Mfg. Co.                                           □ Contingent
          PO Box 711                                                        D Unliquidated
          Emporia, VA 23847                                                 □ Disputed
          Date(s) debt was incurred 8/29/2017                               Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No D Yes

I 3.29   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $4,706.05
          Freedman Packaging Corp.                                          D Contingent
          454 Livonia Avenue                                                □ Unliquidated
          Brooklyn, NY 11207                                                □ Disputed
          Date(s) debt was incurred 7/18/2017; 9/14/2017
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      □ Yes

1 3.30   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $415.62
          FW Hall                                                           □ Contingent
          913 Route 23 SAO                                                  □ Unliquidated
          Pompton Plains, NJ 07444                                          □ Disputed
          Date(s) debt was incurred 12/14/2017                              Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No □ Yes

I 3.31   I Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is: check all that apply.              $0.00
          Georgia Retail Packaging                                          D Contingent
          The Shoppes At Webb Gin                                           □ Unliquidated
          1350 Scenic Highway No. #266                                      □ Disputed
          Snellville, GA 30078
                                                                            Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                 Is the claim subject to offset? B No      □ Yes


I 3.32   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $665.42
          Grainger Inc.                                                     □ Contingent
          199 Orville Drive                                                 □ Unliquidated
          Bohemia, NY 11716                                                 □ Disputed
          Date{s) debt was incurred 3/2017 - 6/2017
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      □ Yes




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  Debtor      Paramount Equipment, Inc.                                                                 Case number (if known)


I 3,33   I Nonpriority creditor's name and maiiing address                    As of the petition fiiing date, the ciaim is: Check all that apply.               $0.00
           Guardian Packaging                                                 □ Contingent
           110 Center Street                                                  D Unliquidated
           Wilder. KY 41071                                                   □ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim: For Notice Purposes Only
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? B No      □ Yes

I 3.34   I Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
           Helen La Mere                                                      □ Contingent
           154 Eugene Street                                                  □ Unliquidated
           Holbrook, NY 11741                                                 D Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim: For Notice Purposes Only
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? B No      D Yes

I 3,35   I Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $616.07
           Hilton Sales                                                       □ Contingent
           PO Box 776                                                         D Unliquidated
           Lindenhurst, NY 11757-0778                                         □ Disputed
           Date(s) debt was incurred 6/21/2016
                                                                              Basis for the claim: Trade debt
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? H No      D Yes

1 3.36   1 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,196.09
           HSBC Bank USA, N.A.                                                □ Contingent
           PO Box 9                                                           □ Unliquidated
           Buffaio, NY 14240                                                  □ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim: Trade debt
           Last 4 digits of account number 6972
                                                                              Is the claim subject to offset? B No      □ Yes.

I 3,37   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $263.30
           Intelli-Tec                                                        n Contingent
           2000 Shames Drive                                                  □ Unliquidated
           Westbury, NY 11590                                                 □ Disputed
           Date(s) debt was incurred 3/1/2018; 7/1/2018
                                                                              Basis for the claim: Trade debt
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? B No      □ Yes

I 3.38   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $0.00
           Internai Revenue Service                                           □ Contingent
           Centraiized Insolvency Operations                                  □ Unliquidated
           P.O. Box 7346                                                      D Disputed
           Phiiadelphia, PA 19101-7346
                                                                             Basis for the claim: For Notice Purposes Only
           Date(s) debt was incurred _
           Last 4 digits of account number _                                 Is the claim subject to offset? B No       □ Yes


I 3.39   j Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $306,458.04
           J&L Property Investors LLC                                         n Contingent
           f/k/a RAC Industrial Developers                                    □ Unliquidated
           3505 Veterans Memorial Highway                                     n Disputed
           Ronkonkoma, NY 11779
                                                                             Basis for the claim: Lease Rent
           Date(s) debt was incurred _
           Last 4 digits of account number _                                 Is the claim subject to offset? B No       □ Yes




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 Debtor      Paramount Equipment, Inc.                                                               Case number (if known)
             Name
 3.40    I Nonpriority creditor's name and maiiing address                 As of the petition filing date, the claim is: Check all that apply.     $180,000.00
          Jennifer Barbaro                                                 □ Contingent
          19 Wood Hollow Lane                                              n Unliquidated
          Northport, NY 11768                                              □ Disputed
          Date{s) debt was incurred 11/2017 - 8/2018
                                                                           Basis for the claim: Loans
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? B No      □ Yes

I 3.41   I Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.     $137,831.81
          Jerome Bernzweig                                                 D Contingent
          117 Glen Way                                                     □ Unliquidated
          Syosset, NY 11791                                                D Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? B No      D Yes

j 3.42   I Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jesus Turclos                                                    □ Contingent
          223 Sunflower Lane                                               D Unliquidated
          Islandia, NY 11749                                               □ Disputed
          Date(s) debt was incurred _                                      Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ® No      □ Yes

I 3.43   I Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim Is: Check all that apply.        $1,381.16
          Jones Yarn                                                       □ Contingent
          PO Box 367                                                       □ Unliquidated
          Humboldt, TN 38343                                               □ Disputed
          Date(s) debt was incurred 8/14/2017                              Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? H No d Yes

I 3.44   I Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.        $2,461.32
          KCK Landscape                                                    □ Contingent
          3505 Veterans Memorial Highway                                   □ Unliquidated
          Suite A                                                          □ Disputed
          Ronkonkoma, NY 11779
                                                                           Basis for the claim: Trade debt
          Date{s) debt was incurred 3/2018 - 6/2018
          Last 4 digits of account number _                                Is the claim subject to offset? B No      □ Yes


I 3.45   I Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $0.00
          KIngsway Paper Co.                                               □ Contingent
          1731 GInesI Drive                                                D Unliquidated
          Freehold, NJ 07728                                               □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? B No      D Yes

1 3.46   1 Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.            $77.93
          LI Hardware                                                      D Contingent
          3606 Veterans Highway                                            □ Unliquidated
          Bohemia, NY 11716                                                d Disputed
          Date(s) debt was incurred 7/2018 - 8/2018                        Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ® No d Yes




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 Debtor      Paramount Equipment, Inc.                                                                Case number (if known)
             Nanne

 3.47    I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Luis Turcios                                                      □ Contingent
          36 E. Walnut Street                                               n Unliquidated
          Central Islip, NY 11722                                           □ Disputed
          Date(s) debt was incurred _                                       Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ® No      □ Yes

I 3,48   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marcia Laird                                                      □ Contingent
          385 Cedarhurst Street                                             □ Unliquidated
          Islip Terrace, NY 11752                                           □ Disputed
          Date{s) debt was incurred _                                       Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      D Yes


I 3.49   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $94,900.00
          Matthew Barbaro                                                   □ Contingent
          11 Geoffrey Lane                                                  □ Unliquidated
          Kings Park, NY 11754                                              D Disputed
          Date(s) debt was incurred 1/2018 - 8/2018                         Basis for the claim: Loans (Pavroli)
          Last 4 digits of account number 9811
                                                                            Is the claim subject to offset? B No □ Yes

I 3.50   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $82,981.95
          Matthew Barbaro                                                   D Contingent
          11 Geoffrey Lane                                                  □ Unliquidated
          Kings Park, NY 11754                                              □ Disputed
          Date(s) debt was incurred 9/2017 - 8/2018                         Basis for the claim: Loans (Expenses)
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      □ Yes

I 3.51   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply     $126,880.52
          Matthew Barbaro                                                   □ Contingent
          11 Geoffrey Lane                                                  □ Unliquidated
          Kings Park, NY 11754                                              D Disputed
          Date{s) debt was incurred _                                       Basis for the claim: Loans
          Last 4 digits of account number_
                                                                            Is the claim subject to offset? H No      □ Yes

1 3.52   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim Is: Check all that apply.    $393,670.40
          Muiier Famiiy Trust                                               □ Contingent
          103 Regency Drive                                                 D Unliquidated
          Conway, SC 29526                                                  □ Disputed
          Datefs) debt was incurred 8/30/2005                               Basis for the claim: Stock Reourchase
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No □ Yes

1 3.53   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $7,285.75
          Nationai Grid                                                     □ Contingent
          460 E. Main Street                                                □ Unliquidated
          Patchogue, NY 11772-1306                                          D Disputed
          Datels) debt was incurred Since 1/2018                            Basis for the claim: Utiiitv
          Last 4 diaits of account number 4007
                                                                            Is the claim subject to offset? B No □ Yes




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 Debtor       Paramount Equipment, Inc.                                                               Case number (if known)
              Name

 3.54    I Nonprtority creditor's name and mailing address                  As of the petition fiiing date, the ciaim is; Check all that apply.              $0.00
          Neftali Moreno                                                    D Contingent
          58 Cordello Avenue                                                □ Unliquidated
          Central Islip, NY 11722                                           □ Disputed
          Date(s) debt was incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number_
                                                                            Is the claim subject to offset? B No      □ Yes

I 3.55   I Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          NYC Department of Finance                                         □ Contingent
          345 Adams Street, 3rd Floor                                       □ Unliquidated
          Attn: Legal Affairs                                               □ Disputed
          Brooklyn, NY 11201
                                                                            Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                 Is the claim subject to offset? ® No      □ Yes
I 3.56   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is; Check all that apply.              $0.00
          NYS Department of Taxation & Finance                              □ Contingent
          Bankruptcy/Special Procedures Section
          PO Box 5300
                                                                            □ Unliquidated
                                                                            D Disputed
          Albany, NY 12205-0300
                                                                            Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number_                                  Is the claim subject to offset? B No      □ Yes


I 3.57   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          NYS Unemployment Ins. Fund                                        □ Contingent
          P.O. Box 551                                                      D Unliquidated
          Albany, NY 12201-0551                                             □ Disputed
          Date(s) debt was incurred _                                       Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      D Yes

I 3.58   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Office of Site Remediation Enforcement
          US Environ. Protection Agency                                     □ Contingent
          1200 Pennsylvania Avenue, N.W.                                    D Unliquidated
          Mail Code 2272A                                                   □ Disputed
          Washington, DC 20004-2004
                                                                            Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number_                                  Is the claim subject to offset? B No      □ Yes
I 3.59   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Oscar A. Hernandez                                                □ Contingent
          31 Michigan Street                                                □ Unliquidated
          Bay Shore, NY 11706                                               □ Disputed
          Date(s) debt was incurred _                                       Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number_
                                                                            Is the claim subject to offset? ® No      □ Yes
I 3.60__ I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Parking Violations Bureau                                         CH Contingent
          210 Joralemon Avenue                                              □ Unliquidated
          Brooklyn, NY 11201                                                □ Disputed
          Date(s) debt was incurred _
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      □ Yes




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 Debtor      Paramount Equipment, Inc.                                                               Case number (if known)
             Name

 3.61    I Nonpriority creditor's name and mailing address                  As of the petition fiiing date, the ciaim is: Check all that apply.              $0.00
          Paychex                                                           □ Contingent
          1767 Veterans Highway                                             D Unliquidated
          PO Box K                                                          D Disputed
          Syosset, NY 11773
                                                                            Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred 7/26/2018
          Last 4 digits of account number _                                 Is the claim subject to offset? B No      D Yes


I 3.62   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Piedmont National                                                 □ Contingent
          1561 Southland Circle                                             □ Unliquidated
          Atlanta. GA 30318                                                 □ Disputed
          Date(s) debt was incurred _                                       Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number_
                                                                            Is the claim subject to offset? B No      □ Yes

I 3.63   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $450.08
          Pitney Bowes                                                      □ Contingent
          PO Box 371896                                                     □ Unliquidated
          Pittsburgh, PA 15250-7896                                         □ Disputed
          Date(s) debt was incurred Since 9/2017                            Basis for the claim: Trade debt
          Last 4 digits of account number 0345
                                                                            Is the claim subject to offset? B No      D Yes

1 3.64   1 Nonpriority creditor's name and mailing address                  As of the petition tiling date, the claim is: Check all that apply.      $10,463.25
          Platecrafters                                                      □ Contingent
          230 Bethlehem Pike                                                 D Unliquidated
          Colmar, PA 18915                                                   □ Disputed
          Date(s) debt was Incurred Since 7/2016                            Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset?      No □ Yes

1 3.65   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $600.00
          Polycraft                                                          □ Contingent
          40 Ranick Road                                                     □ Unliquidated
          Hauppauge, NY 11788                                                □ Disputed
          Date(s) debt was incurred 2/14/2018                               Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No □ Yes

1 3.66   j Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $298.37
          Professional Fire                                                  □ Contingent
          56 Shore Drive S.                                                  □ Unliquidated
          Copiague, NY 11726                                                 D Disputed
          Date(s) debt was incurred 9/15/2017                               Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No □ Yes

1 3.67   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $6,480.52
          PSE&G                                                              □ Contingent
          175 E. Oid Country Road                                            □ Unliquidated
          Hicksviile, NY 11801                                               D Disputed
          Date(s) debt was incurred Since 6/2018                             Basis for the claim: Utiiitv
          Last 4 dialts of account number 4454
                                                                             Is the claim subject to offset? B No □ Yes




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 Debtor      Paramount Equipment, Inc.                                                                Case number (if known)
             Name
 3.68    I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $380.00
          Ranco Wiping Ciothes                                              □ Contingent
          14 Troy Place                                                     □ Unliquidated
          PO Box 369                                                        □ Disputed
          Freeport, NY 11520
                                                                            Basis for the claim: Trade debt
          Date{s) debt was incurred 4/6/2018
          Last 4 digits of account number _                                 is the claim subject to offset? B No      □ Yes


I 3,69   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all'that apply.            $85.00
          S&S Express                                                       □ Contingent
          1537 Illinois Avenue                                              □ Unliquidated
          Bay Shore, NY 11706                                               □ Disputed
          Date(s) debt was incurred 11/3/2017                               Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            is the claim subject to offset? B No      D Yes


I 3.70   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $1,570.64
          Sideweld                                                          [H Contingent
          2175 Union Blvd.                                                  □ Unliquidated
          Bay Shore, NY 11706                                               □ Disputed
          Date(s) debt was incurred Since 11/2016                           Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No      □ Yes

I 3.71   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Social Security Administration
          Office of the Regional Chief Counsel                              □ Contingent
          Region II                                                         □ Unliquidated
          26 Federal Plaza, Room 3904                                       □ Disputed
          New York, NY 10278
                                                                            Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                 Is the claim subject to offset? B No      □ Yes


I 3.72   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Specialty Box                                                     C3 Contingent
          1040 Broadway                                                     □ Unliquidated
          Albany, NY 12204                                                  □ Disputed
          Date(s) debt was incurred _                                       Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number_
                                                                            is the claim subject to offset? B No      □ Yes

I 3,73   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $0.00
          Staples, Inc.                                                     □ Contingent
          PO Box 10249                                                      □ Unliquidated
          Columbia, SC 29224                                                □ Disputed
          Date(s) debt was incurred _                                       Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            is the claim subject to offset? B No      D Yes


1 3.74   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $67.32
          Starllte Fuel                                                     □ Contingent
          111 South 4th Street                                              D Unliquidated
          Bay Shore, NY 11706                                               D Disputed
          Datefs) debt was incurred 4/18/2018; 5/30/2018                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No D Yes




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 Debtor       Paramount Equipment, Inc.                                                                Case number (if known)
              Name
 3.75    I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1.20
          Suffolk Water Authority                                             □ Contingent
          PO Box 3147                                                         □ Unliquidated
          Hicksville, NY 11802                                                □ Disputed
          Date(s) debt was incurred 6/26/2018
                                                                             Basis for the claim: Utility
          Last 4 digits of account number 9002
                                                                             Is the claim subject to offset? B No      □ Yes

I 3.76   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $735.21
          Summit Toyota                                                       □ Contingent
          63 Mall Drive                                                       □ Unliquidated
          Commack, NY 11725                                                   G Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

I 3,77   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          Supply One                                                         □ Contingent
          21 Executive Blvd.                                                 □ Unliquidated
          Farmingdale, NY 11735                                              □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ® No      □ Yes

1 3.78   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $363.89
          T.M. Kennedt's Garage Door                                         □ Contingent
          236 N. Main Street                                                 □ Unliquidated
          Sayville, NY 11782                                                 □ Disputed
          Date(s) debt was incurred 5/30/2017
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? B No      □ Yes

I 3.79   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim Is: Check all that apply.              $0.00
          Turner Packaging Concepts                                          □ Contingent
          133 High Hammock                                                   □ Unliquidated
          Johns Island, SC 29455                                             □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes

I 3.80   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim Is: Check all that apply.              $0.00
          U.S. Attorney's Office, EDNY                                       □ Contingent
          Attn: Tax & Bankruptcy Unit                                        □ Unliquidated
          147 Pierrepont Street
          Brooklyn, NY 11201
                                                                             □ Disputed
                                                                             Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? • No      □ Yes


I 3.81   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          U.S. Department of Education                                       □ Contingent
          50 Beale Street #8629                                              □ Unliquidated
          San Francisco, CA 94105                                            □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 14
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 Debtor       Paramount Equipment, Inc.                                                                Case number (if known)
              Name
 3.82    I Nonpriority creditor's name and maiiing address                   As of the petition fiiing date, the ciaim is: Check all that apply.              $0.00
          U.S. Department of Health and
           Human Services                                                    n Contingent
          Office of the General Counsel                                      □ Unliquidated
          26 Federal Plaza - Room 3908                                       □ Disputed
          New York, NY 10278
                                                                             Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? H No      D Yes


I 3.83   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          U.S. Dept of Education                                             □ Contingent
          PO Box 5609                                                        □ Unliquidated
          Greenville, TX 75403-5609                                          □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      D Yes

I 3.84   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          U.S. Securities and Exchange Commission
          New York Regional Office                                           □ Contingent
          Brookfield Place                                                   D Unliquidated
          200 Vesey Street, Suite 400                                        □ Disputed
          New York, NY 10281
                                                                             Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? B No      D Yes


I 3.85   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $491.41
          Uline                                                              □ Contingent
          PO Box 88741                                                       □ Unliquidated
          Chicago, IL 60680-1741                                             O Disputed
          Date(s) debt was incurred 2/2017 -4/2017
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      D Yes

         I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $0.00
          United States Trustee's Office
          Region 2                                                           □ Contingent
          U.S. Federal Office Building                                       □ Unliquidated
          201 Varick Street, Room 1006                                       □ Disputed
          New York, NY 10014
                                                                             Basis for the claim: For Notice Purposes Only
          Date{s) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? ® No      □ Yes

1 3.87   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $588.78
          UPS                                                                n Contingent
          PO Box 72470244                                                    □ Unliquidated
          Philadelphia, PA 19170                                             G Disputed
          Date(s) debt was Incurred 7/2018 - 8/2018
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number 7964
                                                                             Is the claim subject to offset? B No      □ Yes

1 3.88   1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $1,256.10
          Walnut                                                             □ Contingent
          450 Smith Street                                                   □ Unliquidated
          Farmingdale, NY 11735                                              D Disputed
          Date(s) debt was incurred 7/2017 -8/2017
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? B No      □ Yes




Official Form 206 E/F                                        Schedule E/F: Creditors Who Flave Unsecured Claims                                         Page 13 Of 14
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 Debtor      Paramount Equipment, Inc.                                                               Case number (if known)
             Name
 3.89    I Nonpriority creditor's name and mailing address                  As of the petition fiiing date, the ciaim is: Check all that apply.                       $0.00
          Wilfredo E. Perla                                                 □ Contingent
          316 Second Avenue                                                 □ Unliquidated
          Brentwood, NY 11717                                               D Disputed
          Date(s) debt was incurred _                                       Basis for the ciaim: For Notice Purposes Only
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? H No       □ Yes

I 3.90   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          William K. Harrington, US Trustee
          Office of the United States Trustee                               □ Contingent
          US Federal Office Building                                        D Unliquidated
          201 Varick Street, Suite 1006                                     □ Disputed
          New York, NY 10014
                                                                            Basis for the claim: For Notice Purposes Only
          Date{s) debt was incurred _
          Last 4 digits of account number_                                  Is the claim subject to offset? B No       D Yes


1 3.91   I Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $1,524.04
          Winter Brothers                                                   □ Contingent
          1198 Prospect Avenue                                              [H Unliquidated
          Westbury, NY 11590-2723                                           □ Disputed
          DateisI debt was incurred 1/2018 -7/2018                          Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No D Yes

I 3.92   I Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $651.45
          Yellow Freight                                                    □ Contingent
          PO Box 5901                                                       D Unliquidated
          Topeka, KS 66605-0901                                             □ Disputed
          Date(s) debt was incurred 4/25/2017                               Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? B No       □ Yes



             List Others to Be Notified About Unsecured Ciaims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Parti or Part 2 is the         Last 4 digits of
                                                                                                     related creditor (if any) listed?               account number, if
                                                                                                                                                     any
 41       Daniel Wm. DeLuca, Esq.
          3555 Veterans Memorial Highway                                                             Line 3.39
          Suite P
                                                                                                     □     Not listed. Explain _
          Ronkonkoma, NY 11779

            I Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total Of claim amouhts
 5a. Total claims from Part 1                                                                            5a.       $                             0.00
 Sb. Total claims from Part 2                                                                            5b.   +   $                     1,885,458.59

 5c. Total of Parts 1 and 2                                                                                                                 1,885,458.59
      Lines 5a + 5b = 5c.                                                                                5c.       $




Official Form 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 14 of 14
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Fill in this information to identify the case:

Debtor name         Paramount Equipment, Inc.

United States Bankruptcy Court for the:             EASTERN DISTRICT OF NEW YORK

Case number (if known)_________________________
                                                                                                                                   □ Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases________________ 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       □ No. Check this box and file this form w/ith the debtor’s other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal                Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

2.1.         State what the contract or                   Building Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Expires 4/30/2022          J&L Property Investors LLC
                                                                                     f/k/a RAC Industrial Developers
             List the contract number of any                                         3505 Veterans Memorial Highway
                   government contract__________________                             Ronkonkoma, NY 11779




Official Form 206G                               Schedule G; Executory Contracts and UnexpIred Leases                                                 Page 1 of 1
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Fill in this information to identify the case;

Debtor name          Paramount Equipment, Inc.

United States Bankruptcy Court for the:             EASTERN DISTRICT OF NEW YORK

Case number (if known)                ___________
                                                                                                                           □ Check if this is an
                                                                                                                             amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 □ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 ■ Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors. Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed, If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2; Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Jerome                                                                             Capital One Bank                □ D_
             Bernzweig                                                                                                          ■ E/F        3.14
                                                                                                                                □ G




Official Form 206H                                                          Schedule H: Your Codebtors                                       Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Paramount Equipment, Inc.

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number (if known) ____________________________
                                                                                                                                      Q Check if this is an
                                                                                                                                        amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/i6
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

|^3Qy|||_lncome______________________________________________________________________________ ____________________________

1. Gross revenue from business

     □ None,

      Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                           Gross revenue
      which may be a calendar year                                                            Check all that apply                         (before deductions and
                                                                                                                                           exclusions)

      From the beginning of the fiscai year to filing date:                                   0 Operating a business                                 $521,120.35
      From 10/1/2017 to 8/31/2018
                                                                                              □ Other ____________



       For year before that:                                                                  12 Operating a business                                $745,210.00
       From 10/1/2016 to 9/30/2017
                                                                                              □ Other ____________

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
     and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     la None.
                                                                                              Description of sources of revenue            Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

             List Certain Transfers Made Before Filing for Bankruptcy

3.   Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
     filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
     and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      D None.
       Creditor's Name and Address                                          Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                              Check ali that apply

              PSE&G                                                         6/8/2018                        $11,489.45            Secured debt
              175 E. Old Country Road                                       6/29/2018                                             Unsecured loan repayments
              Hicksville, NY 11801                                          7/16/2018                                             Suppliers or vendors
                                                                            7/24/2018                                         0   Services
                                                                            8/17/2018                                             Other




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       Paramount Equipment, Inc.                                                                 Case number (ifknown)



       Creditor's Name and Address                                          Dates               Total amount of value           Reasons for payment or transfer
                                                                                                                                Check all that apply
       3,2,
              Allied Plastics Holdings LLC                                  6/25/2018                       $28,513.80          3]   Secured debt
              560 Ferry Street                                              7/5/2018                                            ^    Unsecured loan repayments
              Newark, NJ 07105                                              7/6/2018                                            2    Suppliers or vendors
                                                                            7/31/2018                                           I]   Services
                                                                            8/1/2018                                            H    Other


       3,3,
              J&L Property Investors                                        8/1/2018                        $25,025.00          H    Secured debt
              f/k/a RAC Industries                                                                                              I]   Unsecured loan repayments
              3505 Veterans Memorial Highway                                                                                    I]   Suppliers or vendors
              Ronkonkoma, NY 11779                                                                                              I]   Services
                                                                                                                                2    Other Lease Rent



4,   Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
     or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
     may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
     listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
     debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C, § 101(31).

      0 None.

       insider's name and address                                           Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5.   Repossessions, foreclosures, and returns
     List ail property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      El None

       Creditor's name and address                              Describe of the Property                                      Date                     Value of property


6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or othenwise took anything from an account
     of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
     debt.

      E None

       Creditor's name and address                              Description of the action creditor took                       Date action was                    Amount
                                                                                                                              taken

              Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      □ None.
              Case title                                        Nature of case             Court or agency's name and                 Status of case
              Case number                                                                  address
       7,1.   J&L Property Investors, LLC,                      Landlord-Tenant            Fifth District Court -                     2 Pending
              Petitioner (Landlord) against                     Action                     Ronkonkoma                                 1] On appeal
              Paramount Equipment Co.                                                      3105 Veterans Memorial                     111] Concluded
              LT-iSLT001367                                                                Highway
                                                                                           Ronkonkoma, NY 11779


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 2

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Debtor         Paramount Equipment, Inc.                                                                  Case number (ifknown)



      E None


           I Certain Gifts and Charitable Contributions

9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
     the gifts to that recipient is less than $1,000

      0 None

                Recipient's name and address                   Description of the gifts or contributions                 Dates given                  Value


               Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      0 None

       Description of the property lost and                    Amount of payments received for the loss                  Dates of loss   Value of property
       how the loss occurred                                                                                                                          lost
                                                               If you have received payments to cover the loss, for
                                                               example, from insurance, government compensation, or
                                                               tort liability, list the total received.
                                                               List unpaid claims on Official Form 106A/B (Schedule
                                                               A/B: Assets - Real and Personal Property).

               Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behaif of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      □ None.

                 Who was paid or who received                       If not money, describe any property transferred           Dates       Total amount or
                 the transfer?                                                                                                                     value
                 Address
       11.1.     Meyer Suozzi English &Klein
                 PC
                 990 Stewart Avenue
                 Suite 300, PO Box 9194
                 Garden City, NY 11530                                                                                                        $10,000.00

                 Email or website address
                 wwww.msek.com

                 Who made the payment, if not debtor?
                 Debtor's President, Jerome
                 Bernzweig, and Vice-President,
                 Matthew Barbaro, each deposited
                 one-half of the funds for payment of
                 the $10,000 fee Into Debtor's HSBC
                 account and issued a company
                 check for $2,500 and obtained a
                 bank check for $7,500 for the
                 payment of the fee.



12, Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement,

      0 None,

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            pages

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Debtor       Paramount Equipment, Inc^.                                                                  Case number (if known)



    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     g] None.

              Who received transfer?                             Description of property transferred or                   Date transfer            Total amount or
              Address                                            payments received or debts paid in exchange              was made                          value

              Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                                     Dates of occupancy
                                                                                                                            From-To

            [ Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

     0      No, Go to Part 9.
     O      Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services             If debtor provides meals
                                                                 the debtor provides                                                      and housing, number of
                                                                                                                                          patients in debtor’s care

              Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

     0      No.
     [J     Yes. State the nature of the information collected and retained.

17, Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401 (k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

     0      No, Goto Part 10.
     [J     Yes. Does the debtor serve as plan administrator?


              Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor's benefit, closed, sold,
    moved, or transferred?                                                                            -
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      SI None
             Financial Institution name and                       Last 4 digits of         Type of account or           Date account was              Last balance
             Address                                              account number           instrument                   closed, sold,             before closing or
                                                                                                                        moved, or                          transfer
                                                                                                                        transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4

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Debtor       Paramount Equipment, Inc.                                                                 Case number (ifknown)



       [2 None

        Depository institution name and address                     Names of anyone with                 Description of the contents           Do you stiil
                                                                    access to it                                                               have it?
                                                                    Address

20, Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       0 None

        Facility name and address                                   Names of anyone with                 Description of the contents           Do you still
                                                                    access to it                                                               have it?


Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

      [2 None (except see Schedule A/B - Part 5, Annex - Question 22 Annex)


 Part 12: I Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

       Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
       owned, operated, or utilized.

       Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
       similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22.    Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       a No.
       a    Yes. Provide details below.

        Case title                                                  Court or agency name and             Nature of the case                    Status of case
        Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

       2    No,
       a    Yes. Provide details below.

        Site name and address                                       Governmental unit name and               Environmental law, if known       Date of notice
                                                                    address

24. Has the debtor notified any governmental unit of any release of hazardous material?

       0    No,
       0    Yes. Provide details below.

        Site name and address                                       Governmental unit name and               Environmental law, if known       Date of notice
                                                                    address

            I Details About the Debtor's Business or Connections to Any Business


25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
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 Debtor      Paramount Equipment, Inc.                                                                  Case number (if known)




    Include this Information even if already listed in the Schedules.

     0 None

    Business name address                                     Describe the nature of the business              Empioyer identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financiai statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         □ None

       Name and address                                                                                                                         Date of service
                                                                                                                                                From-To
       26a.1.  Katz And Arnone CPA PC                                                                                                           1997 - Present
               60 East 42nd Street
               Suite 938
      ________ New York, NY 10165_____

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          0 None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          O None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26C.1.       Marvin Katz CPA PC                                                                       Prior to 2001 aii corporate papers (minutes,
                    One Worid Trade Center                                                                   annuai and speciai meetings, stocks and
                    Suite 4515                                                                               records) were prepared by Marvin Katz, CPA
                    New York, NY 10007                                                                       and kept in his office at one Worid Trade
                                                                                                             Center were destroyed on 9/11/2001. Shortiy
                                                                                                             after that Marvin Katz passed away and his
                                                                                                             assistant took over the practice (Katz and
                                                                                                             Arnone, CPA PC).__________________________

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          0 None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      0     No (except for purposes of preparing bankruptcy schedules).
      O     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of Inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each Inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of Interest, if
                                                                                                          interest                                      any
       See Statement of Financial
       Affairs Annex, Question 28




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6

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 Debtor      Paramount Equipment, Inc.                                                                  Case number (if known)




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      2     No
      ^     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      3 No
      I]    Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      2     No
      I]    Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      El    No
      [H    Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the parent
                                                                                                              corporation

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 12,2018________

Isl Matthew Barbaro                                                     Matthew Barbaro
Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Vice President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
0 No
□ Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page?

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                           STATEMENT OF FINANCIAL AFFAIRS

                                             ANNEX

                                           Question 28

                Debtor’s officers, directors, managing members, general partners,
              members in control, controlling shareholders, or other people in control
                         of the debtor at the time of the filing of this case.

        The two current shareholders and directors of the Debtor are listed below. Kenneth Muller
was a prior owner of 25 shares of common stock in the Debtor which represented 33 V3 % of the
issued and outstanding shares of the capital stock of the Debtor. Mr. Muller’s ownership stake in
the Debtor was repurchased by the Debtor pursuant to a Stock Redemption Repurchase Agreement
dated August 30, 2005 (“Buyout Agreement”). Pursuant to the Buyout Agreement, Mr. Muller’s
shares were placed into escrow in exchange for $1 million to be paid by the Debtor as set forth in
the Buyout Agreement and with annual rate of interest of 4%. The shares being held in escrow
under the Buyout Agreement were to be surrendered to the Debtor upon full payment of the
Debtor’s obligation to Mr. Muller. The Debtor’s obligation under the Buyout Agreement was
memorialized in a promissory note entered in connection with the Buyout Agreement (“Note”).

        In June 2012, the Debtor was notified that pursuant to an assignment of note, the Note was
transferred and assigned to Kenneth R. Muller and Donna A. Muller, as Trustees of the Muller
Family Trust Dated April 20, 2012 (“Muller Family Trust ”). Since June 2012, any payments
made by the Debtor under the Buyout Agreement were made to the Muller Family Trust Dated
April 20, 2012, 103 Regency Drive, Conway, South Carolina 29526. Currently, the balance owed
to the Muller Family Trust is $393,670.40.

 Name                   Address                       Position and nature of % of interest,
                                                      any interest             if any
 Matthew Barbaro        11 Geoffrey Lane              Shareholder and director 50%
                        Kings Park, NY 11754
 Jerome Bernzweig       62 Fairhaven Boulevard        Shareholder and director     50%
                        Woodbury, NY 11797




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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                                Eastern District of New York
 In re       Paramount Equipment, Inc._________________________________________                                Case No.   ________________________
                                                             Debtor(s)                                         Chapter    _7________________________

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows;
             For legal services, I have agreed to accept                                                   $                10,000.00
             Prior to the filing of this statement I have received                                         $                10,000.00
             Balance Due                                                                                   $                       0.00

2.     The source of the compensation paid to me was:
             □     Debtor        0      Other (specify):           Debtor's President, Jerome Bernzweig, and Vice-President, Matthew Barbaro,
                                                                   each deposited one-haif of the funds for payment of the $10,000 fee into
                                                                   Debtor's HSBC account and issued a company check for $2,500 and obtained a
                                                                   bank check for $7,500 for the payment of the fee.

3.     The source of compensation to be paid to me is:
             O     Debtor        0      Other (specify):           See above.

4.     0 1 have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

       O I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
         copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 12, 2018                                                          Isl Thomas R. Slome
     Date                                                                        Thomas R. Slome, Esq.
                                                                                 Signature ofAttorney
                                                                                 Meyer, Suozzi, English & Klein P.C.
                                                                                 990 Stewart Avenue, Suite 300
                                                                                 Garden City, NY 11530
                                                                                 516-741-6565 ext. 5922 Fax: 516-741-6706
                                                                                 tsiome@msek.com____________________
                                                                                 Name of law firm




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                                                            United States Bankruptcy Court
                                                               Eastern District of New York
 In re      Paramount Equipment, Inc.                                                                    Case No.
                                                                              Debtor(s)                  Chapter



                                             VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




Date:       September 12, 2018                                     Isl Matthew Barbaro
                                                                   Matthew Barbaro/Vice President
                                                                   Signer/Title

Date:      September 12, 2018                                      Isl Thomas R. Slome
                                                                   Signature of Attorney
                                                                   Thomas R. Slome, Esq.
                                                                   Meyer, Suozzi, English & Klein P.C.
                                                                   990 Stewart Avenue, Suite 300
                                                                   Garden City, NY 11530
                                                                   516-741 -6565 ext. 5922 Fax: 516-741 -6706




                                                                                                                        Rev. 9/17/98
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                A1 Plastic Bags
                136 Tichenor Street
                Newark, NJ 07105


                Adello Uceda Rivera
                55 Eisenhower Avenue
                Brentwood, NY 11717


                Affinity Bag Co.
                4 81-C Johnson Avenue
                Bohemia, NY 11716


                AirPower Transmission Inc.
                81 Gazza Blvd.
                Farmingdale, NY 11735

                Alford/Presidential Industries
                200 West Commercail Avenue
                Moonachie, NJ 07074


                Allied Plastics Holdings LLC
                560 Ferry Street
                Newark, NJ 07105


                Annette Forgas
                2375A Raynor Street
                Ronkonkoma, NY 11779


                Anthony J. Buttonow
                7 Winston Road
                Centereach, NY 11720


                Babor Packaging
                855-857 S Canal Street
                Pittsburgh, PA 15212


                Bags on the Net
                PO Box 4 04
                Bohemia, NY 11716

                Ber Plastics
                5 Curtis Street
                Riverdale, NJ 07457
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                Cablevision
                6 Corporate Drive
                Melville, NY 11747


                CAI
                7m Martel Way
                Georgetown, MA 01833


                Capital One Bank
                PO Box 71083
                Charlotte, NC 28272


                Charles A. Bodden
                111 Dawn Drive
                Centereach, NY 11720

                Christine H. Black, Acting Asst, UST
                Office of the United States Trustee
                U.S. Federal Office Building
                201 Varick Street, Suite 1006
                New York, NY 10014

                Christine H. Black, Asst. UST
                Office of the U.S. Trustee
                Alfonse D'Amato Federal Courthouse
                560 Federal Plaza
                Central Islip, NY 11722-4456


                Christopher Grob
                22 95 Chestnut Avenue
                Ronkonkoma, NY 11779


                Constaflow Pump Corp.
                626 Wirebach Street
                Easton, PA 18042


                Continental Roller Co.
                7 5 Arlington Avenue
                Kearny, NJ 07032

                Copeland & Laird International
                615 West Wiltshire Drive
                Wallingford, PA 19086
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                Daniel Wm. DeLuca, Esq.
                3 555 Veterans Memorial Highway-
                Suite P
                Ronkonkoma, NY 11779


                Dave Barnett
                19 Wood Hollow Lane
                Fort Salonga, NY 11768

                Dynasty Cleaning
                PO Box 4 52
                Commack, NY 11725


                Eddie Goodman Sales
                3606 Preserve Lane
                Miramar Beach, FL 32550


                EDI Express
                2303 W. 190th Street
                Torrance, CA 90504


                Favorite Plastics
                1465 Utica Avenue
                Brooklyn, NY 11234

                FedEx
                PO Box 371461
                Pittsburgh, PA 15250

                Franklin Braid Mfg. Co.
                PO Box 711
                Emporia, VA 23847

                Freedman Packaging Corp.
                4 54 Livonia Avenue
                Brooklyn, NY 11207


                FW Hall
                913 Route 23 SAO
                Pompton Plains, NJ 07444

                Georgia Retail Packaging
                The Shoppes At Webb Gin
                1350 Scenic Highway No. #266
                Snellville, GA 30078
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                Grainger Inc.
                199 Orville Drive
                Bohemia, NY 11716

                Guardian Packaging
                110 Center Street
                Wilder, KY 41071


                Helen La Mere
                154 Eugene Street
                Holbrook, NY 11741


                Hilton Sales
                PO Box 776
                Lindenhurst, NY 11757-0778


                HSBC Bank USA
                Commercial Loan Services
                Suite 0002
                Buffalo, NY 14270


                HSBC Bank USA, N.A.
                PO Box 9
                Buffalo, NY 14240

                Intelli-Tec
                2 000 Shames Drive
                Westbury, NY 11590


                Internal Revenue Service
                Centralized Insolvency Operations
                P.O. Box 7346
                Philadelphia, PA 19101-7346


                J&L Property Investors LLC
                f/k/a RAC Industrial Developers
                3505 Veterans Memorial Highway
                Ronkonkoma, NY 11779


                Jennifer Barbaro
                19 Wood Hollow Lane
                Northport, NY 11768
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                Jerome Bernzweig
                117 Glen Way
                Syosset, NY 11791


                Jesus Turcios
                223 Sunflower Lane
                Islandia, NY 11749

                Jones Yarn
                PO Box 3 67
                Humboldt, TN 38343


                KCK Landscape
                3505 Veterans Memorial Highway
                Suite A
                Ronkonkoma, NY 11779


                Kingsway Paper Co.
                1731 Ginesi Drive
                Freehold, NJ 07728


                LI Hardware
                3606 Veterans Highway
                Bohemia, NY 11716


                Luis Turcios
                36 E. Walnut Street
                Central Islip, NY 11722


                Marcia Laird
                385 Cedarhurst Street
                Islip Terrace, NY 11752


                Matthew Barbaro
                11 Geoffrey Lane
                Kings Park, NY 11754


                Muller Family Trust
                103 Regency Drive
                Conway, SC 29526


                National Grid
                460 E. Main Street
                Patchogue, NY 11772-1306
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                Neftali Moreno
                5 8 Cordello Avenue
                Central Islip, NY 11722


                NYC Department of Finance
                34 5 Adams Street, 3rd Floor
                Attn: Legal Affairs
                Brooklyn, NY 11201


                NYS Department of Taxation & Finance
                Bankruptcy/Special Procedures Section
                PO Box 5300
                Albany, NY 12205-0300

                NYS Unemployment Ins. Fund
                P.O. Box 551
                Albany, NY 12201-0551

                Office of Site Remediation Enforcement
                US Environ. Protection Agency
                12 0 0 Pennsylvania Avenue, N.W.
                Mail Code 2272A
                Washington, DC 20004-2004


                Oscar A. Hernandez
                31 Michigan Street
                Bay Shore, NY 11706


                Parking Violations Bureau
                210 Joralemon Avenue
                Brooklyn, NY 11201


                Paychex
                1767 Veterans Highway
                PO Box K
                Syosset, NY 11773


                Piedmont National
                1561 Southland Circle
                Atlanta, GA 30318


                Pitney Bowes
                PO Box 371896
                Pittsburgh, PA 15250-7896
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                Platecrafters
                230 Bethlehem Pike
                Colmar, PA 18915


                Polycraft
                4 0 Ranick Road
                Hauppauge, NY 11788


                Professional Fire
                56 Shore Drive S.
                Copiague, NY 11726


                PSE&G
                175 E. Old Country Road
                Hicksville, NY 11801


                Ranco Wiping Clothes
                14 Troy Place
                PO Box 369
                Freeport, NY 11520


                S&S Express
                1537 Illinois Avenue
                Bay Shore, NY 11706

                Sideweld
                2175 Union Blvd.
                Bay Shore, NY 11706

                Social Security Administration
                Office of the Regional Chief Counsel
                Region II
                26 Federal Plaza, Room 3904
                New York, NY 10278

                Specialty Box
                1040 Broadway
                Albany, NY 12204


                Staples, Inc.
                PO Box 10249
                Columbia, SC 29224
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                Starlite Fuel
                111 South 4th Street
                Bay Shore, NY 11706


                Suffolk Water Authority
                PO Box 314 7
                Hicksville, NY 11802


                Summit Toyota
                63 Mall Drive
                Commack, NY 11725


                Supply One
                21 Executive Blvd.
                Farmingdale, NY 11735


                T.M. Kennedt's Garage Door
                236 N. Main Street
                Sayville, NY 11782

                Turner Packaging Concepts
                133 High Hammock
                Johns Island, SC 29455

                U.S. Attorney's Office, EDNY
                Attn: Tax & Bankruptcy Unit
                147 Pierrepont Street
                Brooklyn, NY 11201


                U.S. Department of Education
                50 Beale Street #8629
                San Francisco, CA 94105


                U.S. Department of Health and
                 Human Services
                Office of the General Counsel
                26 Federal Plaza - Room 3908
                New York, NY 10278

                U.S. Dept of Education
                PO Box 5609
                Greenville, TX 75403-5609
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                U.S. Securities and Exchange Commission
                New York Regional Office
                Brookfield Place
                200 Vesey Street, Suite 400
                New York, NY 10281

                Uline
                PO Box 88741
                Chicago, IL 60680-1741

                United States Trustee's Office
                Region 2
                U.S. Federal Office Building
                201 Varick Street, Room 1006
                New York, NY 10014


                UPS
                PO Box 72470244
                Philadelphia, PA 19170


                Walnut
                450 Smith Street
                Farmingdale, NY 11735


                Wilfredo E. Perla
                316 Second Avenue
                Brentwood, NY 11717

                William K. Harrington, US Trustee
                Office of the United States Trustee
                US Federal Office Building
                201 Varick Street, Suite 1006
                New York, NY 10014


                Winter Brothers
                1198 Prospect Avenue
                Westbury, NY 11590-2723


                Yellow Freight
                PO Box 5901
                Topeka, KS 66605-0901
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                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
  In re      Paramount Equipment, Inc.                                                                      Case No.
                                                                                   Debtor(s)                Chapter




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Paramount Equipment, Inc, in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



0 None {Check if applicable]




 September 12, 2018                                                    /s/ Thomas R. Slome
 Date                                                                  Thomas R. Slome, Esq.
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Paramount Equipment, Inc.
                                                                       Meyer, Suozzi, English & Klein P.C.
                                                                       990 Stewart Avenue, Suite 300
                                                                       Garden City, NY 11530
                                                                       516-741-6565 ext. 5922 Fax:516-741-6706
                                                                       tslome@msek.com




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                                                    UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF NEW YORK

                                                        STATEMENT PURSUANT TO LOCAL
                                                          BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Paramount Equipment, Inc.                                                  CASE NO.:
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

■ NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

□ THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:                    JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):_                                             [If closed\ Date of closing:_

CURRENT STATUS OF RELATED CASE:
                                                                            (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _________________________________

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE: ______


2. CASE NO.:                    JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):_                                              [If closed] Date of closing:_

 CURRENT STATUS OF RELATED CASE:
                                                                            (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _________________________________

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO,:                    JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):_                                              [If closed] Date of closing:_




                                                                                  (OVER)
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DISCLOSURE OF RELATED CASES (cont’d)

CURRENT STATUS OF RELATED CASE:
                                                                         (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above)-. _________________________________

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE: ______


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                   Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


/s/ Thomas R. Slome
Thomas R. Slome, Esq.
Signature of Debtor's Attorney                                                          Signature of Pro Se Debtor/Petitioner
Meyer, Suozzi, English & Klein P.C.
990 Stewart Avenue, Suite 300
Garden City, NY 11530
516-741-6565 ext. 5922 Fax:516-741-6706                                                 Signature of Pro Se Joint Debtor/Petitioner


                                                                                        Mailing Address of Debtor/Petitioner


                                                                                        City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                           Rev.8/11/2009
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                     -X           Chapter       7
IN RE:           Paramount Equipment, Inc.
                                                                                  Case No.:

                                           Debtor(s)                              STATEMENT PURSUANT TO LOCAL RULE 2017
                                                                     -X

I, Thomas R. siome, Esq., an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):

                                      Date\Time                           Services

                                                                          Initial interview, analysis of financial
                                                                          condition, assessment of options to
                                      8/15/2018 to                        address same, including out of court
                                      8/29/2018                           wind-down and chapter 11, etc.

                                                                          Preparation and review of
                                      8/29/2018 to                        Bankruptcy petition, schedules and
                                      9/10/2018                           statement of financial affairs

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                                    s/s.oo/hour.

Dated: September 12, 2018

                                                                      Isl Thomas R. Siome_____________________________
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